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IN THE UNITED sTATEs DISTRICT CoURT MAY 2 5 2017
EASTERN DISTRICT oF ARKANSAS
EASTERN DrvrsIoN
wlLLIAM HATCHER ' PLAINTIFF " "
v. Case No. 2:16-cv-00614-KGB
Ml)ow rNsURANCE CoMPANY DEFENDANT
JUDGMENT

This matter came for trial by jury on the 22nd day of May, 2017. All parties announced
ready for trial. A jury of twelve was selected and sworn.
On May 24, 2017, the jury returned a verdict as follows:

VERDICT FORM
Question 11

We, the jury, on plaintiff Williarn Hatcher’s claim against defendant MDOW, find in favor of

Defendant MDOW
(Write plaintiff William Hatcher or defendant MDOW)

/s/ Kenneth Soper
FOREPERSON

DATED: 5/24/2017

Note:
Answer Question 2 only if your response to Question l is plaintiff Williarn Hatcher.

Question 2:

We assess plaintiff Williarn Hatcher’s damages, if any, as

 

(Write the dollar amount, if any).

 

FOREPERS ON
DATED:

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Judgment is therefore entered in favor of defendant MDOW and against plaintiff William
Hatcher. The relief requested is denied.

lt is so adjudged this the 25th day of l\/lay, 2017.

Krlstine G. Baker
United States District Judge

 

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